Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 1 of 10




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:

  WINDY LUCIUS,

         Plaintiff,

  v.

  FABIANA FILIPPI RETAIL MIAMI LLC,

         Defendant.
                                                 /

                            COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff, WINDY LUCIUS, (“Plaintiff”), hereby sues the Defendant, FABIANA FILIPPI

  RETAIL MIAMI LLC (“Defendant”), a foreign limited liability company doing business in

  Florida, for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

         1.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is blind and therefore unable to

  fully engage in and enjoy the major life activity of seeing.

         2.      Plaintiff also utilizes the internet. Plaintiff is unable to read computer materials

  and/or access and comprehend internet website information without software specially designed

  for the visually impaired. Specifically, Plaintiff utilizes the JAWS Screen Reader software, which is

  one of the most popular reader Screen Reader Software ("SRS") utilized worldwide.

         3.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their websites are in compliance with the ADA.
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 2 of 10




          4.      Defendant owns, leases, leases to, or operates a place of public accommodation as

  defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

  place of public accommodation that the Defendant owns, operates, or leases is located in Miami-

  Dade County.

          5.      Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, a website located at https://www.fabianafilippi.com/us_en (hereinafter “website”).

  Defendant is the owner, operator, lessor and/or lessee of the website. This website supports, is an

  extension of, is in conjunction with, is complementary and supplemental to, the above-referenced

  public accommodation.        This website provides       information about Defendant's public

  accommodation, including information about the special sales, goods, services, accommodations,

  privileges, benefits and facilities available to patrons at physical locations. On information and

  belief, Defendant also continually and/or periodically updates and maintains the website.

          6.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b), and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          7.      This Court has personal jurisdiction over FABIANA FILIPPI RETAIL MIAMI

  LLC pursuant to, inter alia, Florida’s long arm statute F.S. § 48.193, in that Defendant: (a)

  operates, conducts, engages in, and/or carries on a business or business ventures (s) in Florida

  and/or has an office or agency in Florida; (b) has committed one or more tortious acts within

  Florida; (c) was and/or is engaged in substantial and not isolated activity within Florida; and/or (d)

  has purposely availed itself of Florida’s laws, services and/or benefits and therefore should

  reasonably anticipate being hailed into one or more of the courts within the State of Florida.

          8.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given




                                                    2
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 3 of 10




  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

         9.      The website is an extension of Defendant's place of public accommodation. By and

  through this website, Defendant extends its public accommodation into individual persons' homes,

  portable devices and personal computers wherever located. The website is a service, facility,

  privilege, advantage, benefit and accommodation of Defendant's place of accommodation. The

  website also provides access to the goods, services, facilities, privileges, advantages or

  accommodations of the place of public accommodation. For example, the website provides a store

  locator, a list of items available for sale in the brick and mortar stores, and the ability to purchase

  items to be shipped. The website also allows customers to book appointment times for shopping.

  Like many people, Plaintiff would like to pre-shop the Defendant’s stores to determine whether

  certain items are available at the stores before she leaves home and whether the items have

  temporary special pricing.    She would like to take advantage of special sales in store and online

  that she would only know about from the website. Defendant’s website provides access to benefits

  of Defendant’s physical stores and Plaintiff was denied those benefits when she could not access

  Defendant’s website. As such, the website has integrated with and is a nexus to the brick and

  mortar location. Therefore, it is governed by the following provisions:

                 a.      42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such




                                                    3
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 4 of 10




  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                  c.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.       42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to




                                                     4
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 5 of 10




  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                 h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

         10.     As the owner or operator of the subject website, Defendant is required to comply

  with the ADA and the provisions cited above. This includes an obligation to create and maintain a

  website that is accessible to and usable by visually impaired persons so that they can enjoy full and

  equal access to the website and the content therein, including the ability to place orders through

  the website for pickup at a designated location.

         11.     Plaintiff attempted to access and/or utilize Defendant's website, but was unable to,

  and she continues to be unable to enjoy full and equal access to the website and/or understand the

  content therein because numerous portions of the website do not interface with and are not

  readable by SRS. More specifically, features of the website that are inaccessible to the visually

  impaired include, but are not limited to, the following: product images are announced but they do

  not have accessible labels. Screen reader users will hear and navigate through each image, but they

  only hear a long string of characters followed by "unlabeled graphic." The website displays a




                                                     5
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 6 of 10




  dialog after an item is successfully added to the cart. The dialog contains a message informing

  users that the item was successfully added. It also includes additional cart information and links to

  proceed to the shopping cart, however, neither the dialog nor the content is announced. Filter

  options on the category page are not accessible for keyboard-only users. Skip functionality is not

  shown or announced on this website. The submenu content items are actionable elements, but they

  are not in tab index. Screen reader users do not hear these sub menu items. Users navigated the

  menu links and the sub menu was skipped but it did open immediately when users hovered over it

  with a mouse. The time selection drop-down does not have a label. Screen reader users only hear

  that a combo box is available. A popup is shown when a user clicks on the "Size Guide" link with

  the size information. Screen reader users can access the pop-up, but only the two headings are

  announced. Users cannot navigate to or hear the content in the chart itself. The labels for the size

  options are unclear when announced to the user. Only “clickable” is announced with the visible

  number, providing no context that these are the size options. When users submit the appointment

  form with an invalid email address an error message is displayed, but the error message is not

  announced by the screen reader tool.

         12.     Plaintiff continues to attempt to utilize the website and/or plans to continue to

  attempt to utilize the website in the near future. In the alternative, Plaintiff intends to monitor the

  website in the near future, as a tester, to ascertain whether it has been updated to interact properly

  with screen reader software.

         13.     As more specifically set forth above, Defendant has violated the above cited

  provisions of the ADA by failing to interface its website with software utilized by visually

  impaired individuals. Thus, Defendant has violated the following provisions either directly or

  through contractual, licensing or other arrangements with respect to Plaintiff and other similarly




                                                    6
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 7 of 10




  situated individuals on the basis of their disability:

                  a.      by depriving her of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                  b.      in the denial of the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(1)(A)(i));

                  c.      in affording her the opportunity to participate in or benefit from a good,

  service, facility, privilege, advantage, or accommodation that is not equal to that afforded to other

  individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                  d.      by providing her a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals, unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others (42 U.S.C. § 12182(b)(1)(A)(iii));

                  e.      by failing to afford her goods, services, facilities, privileges, advantages,

  and accommodations in the most integrated setting appropriate to the needs of the individual (42

  U.S.C. § 12182(b)(1)(B));

                  f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying her the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                  g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities, unless the entity can




                                                     7
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 8 of 10




  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that they are not

  excluded, denied services, segregated or otherwise treated differently than other individuals

  because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking

  such steps would fundamentally alter the nature of the good, service, facility, privilege, advantage,

  or accommodation being offered or would result in an undue burden (42 U.S.C. § 12182(b)(2)(iii)).

         14.     Plaintiff would like to be a customer at Defendant’s brick and mortar location but

  before she goes to the store, she would like to determine what is available for her purchasing, what

  promotions are being offered and what new items are currently available. In that regard, Plaintiff

  continues to attempt to utilize the website and/or plans to continue to attempt to utilize the website

  on a monthly basis to make selections for purchasing online or in the store.

         15.     Plaintiff is continuously aware of the violations at Defendant's website and is aware

  that it would be a futile gesture to attempt to utilize the website as long as those violations exist

  unless she is willing to suffer additional discrimination.

         16.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result

  of the discriminatory conditions present at Defendant's website. By continuing to operate its

  website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

  privileges and/or accommodations available to the general public. By encountering the

  discriminatory conditions at Defendant's website, and knowing that it would be a futile gesture to

  attempt to utilize the website unless she is willing to endure additional discrimination, Plaintiff is

  deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily




                                                     8
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 9 of 10




  available to the general public and is deterred and discouraged from doing so. By maintaining a

  website with violations, Defendant deprives plaintiff the equality of opportunity offered to the

  general public.

            17.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of the Defendant’s discrimination until the Defendant is compelled to comply with the

  requirements of the ADA.

            18.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from the Defendant’s non-compliance with the ADA with respect to this website as described

  above. Plaintiff has reasonable grounds to believe that she will continue to be subjected to

  discrimination in violation of the ADA by the Defendant. Plaintiff desires to access the website to

  avail herself of the benefits, advantages, goods and services therein, and/or to assure herself that

  this website is in compliance with the ADA so that she and others similarly situated will have full

  and equal enjoyment of the website without fear of discrimination.

            19.     The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein.

            20.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

  Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

  litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

            21.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require the Defendant to alter its website to make it readily

  accessible to and usable by Plaintiff and other persons with vision impairment.

            22.     As a result of the foregoing, Plaintiff has been obligated to retain the undersigned




                                                       9
Case 1:20-cv-25060-CMA Document 1 Entered on FLSD Docket 12/11/2020 Page 10 of 10




  counsel for the filing and prosecution of this action. Plaintiff is entitled to have her reasonable

  attorneys' fees, costs and litigation expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

         WHEREFORE, Plaintiff respectfully requests:

         a.      The Court issue a Declaratory Judgment that determines that the Defendant's website
                 at the commencement of the subject lawsuit is in violation of Title III of the
                 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;

         b.      The Court issue a Declaratory Judgment that determines that the Defendant's website
                 is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181
                 et seq.;

         c.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by
                 failing to monitor and maintain its website to ensure that it is readily accessible to
                 and usable by persons with vision impairment;

         d.      That this Court issue an Order directing Defendant to alter its website to make it
                 accessible to, and useable by, individuals with disabilities to the full extent required
                 by Title III of the ADA;

         e.      That this Court enter an Order directing Defendant to evaluate and neutralize its
                 policies and procedures towards persons with disabilities for such reasonable time
                 so as to allow Defendant to undertake and complete corrective procedures;

         f.      That this Court enter an Order directing Defendant to continually update and
                 maintain its website to ensure that it remains fully accessible to and usable by
                 visually impaired individuals;

         g.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §
                 12205; and,

         h.      Such other relief as the Court deems just and proper, and/or is allowable under Title
                 III of the Americans with Disabilities Act.

  Dated: December 11, 2020                       Respectfully submitted,


                                                 /s/ J. Courtney Cunningham
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                                                   10
